           Case 1:19-cr-10080-NMG Document 2345 Filed 10/04/21 Page 1 of 4




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


    UNITED STATES OF AMERICA
      v.
                                                            Case No. 1:19-cr-10080-NMG
    GREGORY COLBURN et al.,
           Defendants


      DEFENDANT JOHN WILSON’S MOTION TO EXCLUDE IRRELEVANT AND
    PREJUDICIAL AREA OF QUESTIONING FOR TESTIMONY OF JAMES WALTERS

           Defendant John Wilson will be calling James Walters to testify as his first witness on

October 4, 2021. Mr. Wilson respectfully asks this Court to prohibit the government from asking

irrelevant and prejudicial questions of Mr. Walters, that is, questions that describe, solicit, or

reference the firing, arrest, indictment, or pending criminal charges against Jovan Vavic. Mr.

Vavic is an alleged co-conspirator of Mr. Wilson, but is not a defendant at this trial and is not

testifying before this court. Any questions concerning Mr. Vavic’s firing, arrest, indictment, or

pending charges are thus irrelevant to this trial and highly prejudicial to Mr. Wilson; they should

be barred under Federal Rules of Evidence 401 and 403.

           James Walters was a teammate of Johnny Wilson’s on the University of Southern

California water polo team, for which Mr. Vavic was the head coach. At a deposition of Mr.

Walters this morning, the government asked Mr. Walters questions to probe his potential bias

concerning the Wilson family.1 Unsatisfied, they turned to questioning Mr. Walters about his

relationship with Mr. Vavic, and explicitly and repeatedly asked Mr. Walters for his feelings and



1
       Transcript of Deposition of James Walters dated October 3, 2021 (excerpts attached as
Exhibit A) at 54-55; id. at 56:3-8 (“A. . . . I’m here voluntarily. Q. Okay. Why? A. Just to give
you my recollection of events. . . . [N]o one is forcing me to be here. I’m not, you know, particularly
close with Johnny or anything like that.”).
        Case 1:19-cr-10080-NMG Document 2345 Filed 10/04/21 Page 2 of 4




opinions related to Mr. Vavic’s arrest and the charges that Mr. Vavic faces.2 Were these questions

allowed at trial, the obvious result would be to advertise to the jury that an alleged co-conspirator

of Mr. Wilson’s faces criminal charges. That is improperly suggestive of guilt for Mr. Wilson,

and could have no proper impact on the jury. Further, Mr. Walters’ answers at his deposition made

clear that these issues have no bearing on his motivations for testifying or any bias. Indeed, his

testimony was that his only relationship with Mr. Vavic was that of “coach and player,”3 that he

has not had extensive communications with Mr. Vavic since his graduation from USC,4 and that

he had no particular feelings about or knowledge of the charges Mr. Vavic is facing.5

        Probing the bias of a witness is appropriate where it pertains to the witness’s “like, dislike,

or fear of a party” or “self-interest,” but is not an unlimited license to probe into connections to

non-parties who have no connection to the witness’s self-interest. See United States v. Sabean,

885 F.3d 27, 40 (1st Cir. 2018) (citation omitted). And “[w]here the theory of bias is inherently

speculative, the court may prohibit cross-examiners from mounting fishing expeditions.” United

States v. Martinez-Vives, 475 F.3d 48, 53-54 (1st Cir. 2007) (citations omitted). Questions to Mr.

Walters about Mr. Vavic are irrelevant to this case, as Mr. Vavic is not a party to this case such

that it might be relevant whether Mr. Walters may “like, dislike, or fear” him. The line of



2
        E.g., Transcript of Deposition of James Walters dated October 3, 2021 at 63:20-64:1.
These questions are entirely different from questions the government might ask about Mr. Walters’
relationship with Mr. Vavic during his time at USC, and up to (but not including or after) the time
of Mr. Vavic’s indictment.
3
        Transcript of Deposition of James Walters dated October 3, 2021 at 58:3-4 (“Q. Tell me
specifically about your relationship with Coach Vavich. A. I don't have a -- a personal relationship
with him. I mean, it's -- I wouldn't -- not a professional relationship, but like, from our sport, I have
a coach and player relationship with him . . . .”).
4
        Transcript of Deposition of James Walters dated October 3, 2021 at 63:6-7.
5
        Transcript of Deposition of James Walters dated October 3, 2021 at 65:4-15 (“I don't have
an opinion on it. I haven't thought about it. . . . I mean, there's not much to think about. . . . I don't
know what the charges are. . . . I'm busy with other things. . . . I’m not invested in it.”).

                                                    2
        Case 1:19-cr-10080-NMG Document 2345 Filed 10/04/21 Page 3 of 4




questioning also lacks any link to Mr. Walters’ self-interest. There is no cognizable theory on

which his testimony at this trial could impact Mr. Vavic, and no non-speculative grounds for

claiming that an impact on Mr. Vavic would affect Mr. Walters’ interests.6 The above-listed

questions about Mr. Vavic lack relevance because they would fail to reflect any bias by Mr.

Walters, and would instead be designed to suggest guilt of Mr. Wilson by reason of association

with a non-testifying individual that the government has seen fit to bring criminal charges against.

       Further, cross-examination concerning bias is subject to Federal Rule of Evidence 403, and

questions should be barred if they are unfairly prejudicial to a party. Fed. R. Evid. 403; see also

United States v. Martinez-Vives, 475 F.3d 48, 53-54 (1st Cir. 2007) (noting that when the theory

of bias is speculative, “unchecked cross-examination on a theory of bias may unfairly prejudice

the opposing party’s case and only bring forth 'marginally relevant' evidence.” (quoting Delaware

v. Van Arsdall, 475 U.S. 673, 679 (1986))). Here, the risk of prejudice is particularly acute. The

questions the government asked this morning all related to legal and professional consequences

that Mr. Vavic faces related to the alleged conspiracy at issue in this case. It would be unfairly

prejudicial for the jury to hear results of a government investigation or consequences faced by an

alleged co-conspirator who has been heavily referenced in this trial. There is no permissible

inference the jury could make from this information, and the possible and likely impermissible

inferences abound. As there is no relevance to these questions because they do not bear on any

bias of Mr. Walters, and the risk of prejudice is extremely high, they must be excluded under Rule

403.


6
         Mr. Walters no longer plays water polo, and does not have and has not had a relationship
with Mr. Vavic since he left USC, see Transcript of Deposition of James Walters dated October 3,
2021 at 63:6-7. Any impact on Mr. Vavic from Mr. Walters’ testimony (and there would be none)
for good or ill would have no bearing on Mr. Walters’ interests, and thus gives him no motivation
in his testimony.

                                                 3
         Case 1:19-cr-10080-NMG Document 2345 Filed 10/04/21 Page 4 of 4




 Respectfully submitted,

 By counsel for John Wilson

 /s/ Michael Kendall
 Michael Kendall (BBO # 544866)                             Andrew E. Tomback (pro hac vice)
 Lauren M. Papenhausen (BBO# 655527)                        MCLAUGHLIN & STERN, LLP
 WHITE & CASE LLP                                           260 Madison Avenue
 75 State Street                                            New York, NY 10016
 Boston, MA 02109-1814                                      Telephone: (212) 448-0066
 Telephone: (617) 979-9310                                  ATomback@mclaughlinstern.com
 michael.kendall@whitecase.com
 lauren.papenhausen@whitecase.com




 Dated: October 4, 2021



            CERTIFICATE OF COMPLIANCE WITH LOCAL RULES 7.1 AND 112.1
        I hereby certify that, before filing this motion, defense counsel attempted in good faith to confer
with the government to resolve or narrow the issues. The government does not agree to the relief
requested.

                                                  /s/ Michael Kendall
                                                  Michael Kendall


                                     CERTIFICATE OF SERVICE
        This document is being filed on the date appearing in the header through the ECF system, which
will provide electronic copies to counsel of record.
                                                  /s/ Michael Kendall
                                                  Michael Kendall




                                                      4
